Case 2:04-CV-02556-SHI\/|-tmp Document 53 Filed 08/19/05 Page 1 of 3 Page|D 85

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IN THE UNITED sTATES DISTRICT cOURT --~ »_»-

FOR THE WESTERN DISTRICT OF TENNESSEE

WESTERN DrvIsIoN 05 AUG |9 AH 5’ 52

 

CHRISTOPHER LEE SCALLIONS,

 

Plaintiff,
VS. NO. O4-2556-MaP
LAUDERDALE COUNTY, TN, ET AL.,

Defendants.

 

ORDER GRANTING MOTION TO RESET TRIAL DATE

 

Before the court is the June 21, 2005, motion of defendants
Dyer County, John Justiss and John Cannon, requesting that the
trial in this matter be reset. Pursuant to the motion, a
conference was held on July 27, 2005. For good cause shown, the
motion is granted. The parties shall submit a joint proposed
pretrial order by 5:00 p.m. on March 24, 2006. A pretrial
conference will be held on Friday, March 31, 2006, at 1:30 p.m.
The jury trial is reset to Monday, April 10, 2006, at 9:30 a.m.
and is expected to last 5 days.

The parties will seek private mediation before September 30,
2005.

lt is 50 oRDERED this {r//lday of August:, 2005.

dW///'/lz___

SAMUEL H. MAYS, JR.
UNITED STATES DISTRICT JUDGE

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This notice confirms a copy of the document docketed as number 53 in
case 2:04-CV-02556 Was distributed by faX, mail, or direct printing on
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Honorable Samuel Mays
US DISTRICT COURT

